Case: 4:06-cr-00135-RWS     Doc. #: 75   Filed: 04/21/06   Page: 1 of 2 PageID #: 169



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
          v.                             )        No. 4:06 CR 135 RWS
                                         )                        DDN
MARK A. ROARK,                           )
                                         )
                   Defendant.            )


                          ORDER AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

      This action is before the Court upon the pretrial motions of
defendant Mark A. Roark which were referred to the undersigned United
States Magistrate Judge pursuant to 28 U.S.C. § 636(b).            An evidentiary
hearing was set for April 21, 2006.
      On April 21, 2006, defendant appeared in open court, with counsel,
and advised the undersigned that he had decided not to raise any issues by
way of pretrial motions. He thereupon waived his rights to file pretrial
motions and to have a pretrial hearing.
      Whereupon,
      IT IS HEREBY ORDERED that the motion of defendant to sever is
denied as moot.
      IT IS HEREBY RECOMMENDED that the motion of defendant to suppress
evidence and statements (Doc. 57) be denied as moot.
      The parties are advised they have ten (10) days to file written
objections to this Order and Recommendation.               The failure to file
objections may result in a waiver of the right to appeal issues of fact.
Case: 4:06-cr-00135-RWS   Doc. #: 75     Filed: 04/21/06   Page: 2 of 2 PageID #: 170



                          ORDER SETTING TRIAL DATE
      As directed by the District Judge, this matter is set for a jury
trial on the docket commencing June 5, 2006, at 9:00 a.m.




                                       DAVID D. NOCE
                                       UNITED STATES MAGISTRATE JUDGE

Signed on April 21, 2006.




                                       - 2 -
